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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 INTERNATIONAL BUSINESS                           )
 MACHINES CORPORATION,                            )
                                                  )
                        Plaintiff,                )
                                                  )       C.A. No. 15-137-LPS
                v.                                )
                                                  )
 THE PRICELINE GROUP INC.,                        )
 KAYAK SOFTWARE CORPORATION,                      )
 OPENTABLE, INC., AND                             )
 PRICELINE.COM LLC,                               )
                                                  )
                        Defendants.               )

                     JOINT STIPULATION OF DISMISSAL AND ORDER

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff

International Business Machines and Defendants Booking Holdings Inc. (f/k/a The Priceline

Group Inc.), KAYAK Software Corporation, OpenTable, Inc., and priceline.com LLC hereby

stipulate that all claims between the Parties and their Subsidiaries in the Litigation in the above-

captioned action are hereby dismissed with prejudice and all affirmative defenses and

counterclaims are hereby dismissed without prejudice. Each side shall bear its own costs, expenses,

and attorneys’ fees.
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                                                       Respectfully submitted,
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                                                       Inc., Priceline.com LLC
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 Attorneys for Plaintiff International Business        Attorneys for Defendants Booking Holdings
 Machines Corporation                                  Inc., Kayak Software Corporation, Opentable,
                                                       Inc., Priceline.com LLC
 Dated: October 29, 2019
 6454971/42141



        IT IS SO ORDERED this             day of                    , 2019.



                               The Honorable Leonard P. Stark, Chief United States District Judge




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